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UNITED STATES DISTRICT COURT " ' ‘
WEsTERN DISTRICT 0F TENNESSEE 05 JUFJ -7 ph h, ,5
Western Division
W.t?. tire n-i, r=,t§i,ipia:s'

UNITED STATES OF AMER]CA

-vs- Case N 0.05cr20188-Ml

JAMES IVY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING‘ PURSUAN'I` TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JUNE 9, 2005 at 2:45 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

_____________-_-`
Date: June 7, 2005 M

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f')(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection ( l ) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 2:05-CR-20188 Was distributed by f`aX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

